Case 1:20-cv-02768-WJM Document 8-3 Filed 09/12/20 USDC Colorado Page 1 of 3




                    IN THE UNITED STATES DISTRICT COURT
                        FOR THE DISTRICT OF COLORADO

Civil Action No. 1:20-cv-02768-WJM-STV

STATE OF COLORADO and SECRETARY OF STATE JENA GRISWOLD

      Plaintiffs,

v.

LOUIS DEJOY, in his official capacity as Postmaster General; UNITED STATES
POSTAL SERVICE; SAMARN S. REED, in his official capacity as the Denver,
Colorado Postmaster; and CHRIS J. YAZZIE, in his official capacity as the
Albuquerque, New Mexico Postmaster,

      Defendants.

                     TEMPORARY RESTRAINING ORDER

      The Court GRANTS Plaintiffs the State of Colorado and Secretary of State

Jena Griswold’s Motion for Temporary Restraining Order against Defendants. This

Court enters this Temporary Restraining Order on September ___, 2020 at

________________ __.M. Fed. R. Civ. P. 65(b)(2). This Order expires on _____, 2020 at

______ __.M.

      The Court enjoins Defendants from delivering by mail to Colorado households

the official notices attached as Exhibit A to the declaration of Judd Choate, Director

of Elections for the Colorado Secretary of State.

      The Court finds Plaintiffs have shown “(1) a substantial likelihood of

prevailing on the merits; (2) irreparable harm unless the injunction is issued; (3)

that the threatened injury outweighs the harm that the preliminary injunction may
Case 1:20-cv-02768-WJM Document 8-3 Filed 09/12/20 USDC Colorado Page 2 of 3




cause the opposing party; and (4) that the injunction, if issued, will not adversely

affect the public interest.” Diné Citizens Against Ruining Our Environment v.

Jewell, 839 F.3d 1276, 1281 (10th Cir. 2016) (quotation omitted).

      Defendants received actual notice of this matter prior to entry of this

Temporary Restraining Order by Plaintiffs’ service of the complaint, motion for

temporary restraining order, and supporting documents on Assistant United States

Attorney Kevin Traskos. Further, notice to Defendants before entering this

Temporary Restraining Order is not necessary. Fed. R. Civ. P. 65(b)(1). The

allegations in Plaintiffs’ Complaint and the declaration of Mr. Choate “clearly show

that immediate and irreparable injury, loss, or damage will result to [Plaintiffs and

Colorado voters] before [Defendants] may be heard in opposition.” Fed. R. Civ. P.

65(b)(1)(A).

      Plaintiffs certified that pursuant to Local Rule 65.1(a)(1), on September 12,

2020, they provided actual notice of the time of filing the motion, and copies of all

pleadings and documents filed in the action to date to opposing counsel by emailing

copies of all such documents to Assistant United States Attorney Kevin Traskos

contemporaneously with the filing of the motion for temporary restraining order.

See also Fed. R. Civ. P. 65(b)(1).




                                           2
Case 1:20-cv-02768-WJM Document 8-3 Filed 09/12/20 USDC Colorado Page 3 of 3




       Plaintiffs do not need to post a security bond because enjoining Defendants

from delivering the official notices by mail does not interfere with Defendants’

rights. Fed. R. Civ. P. 65(c).

                                              BY THE COURT


                                              ________________________________
                                              Judge, United States District Court




                                          3
